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                                                                  IN UNITED STATES BANKRUPTCY COURT
                                                                       FOR THE DISTRICT OF ALASKA
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                                               In re:
    701 WEST EIGHTH AVENUE, SUITE 1200




                                               POMRENKE MINING, LLC, a                        Case No. 19-00083 GS
      LANDYE BENNETT BLUMSTEIN LLP




                                               Delaware Limited Liability Company,            Chapter 7
        ANCHORAGE, ALASKA 99501




                                                                           Debtor.


                                                 NORTHWEST GOLD DIGGERS, LLC’S JOINDER IN OBJECTION TO
                                               CLAIM NUMBER 7 FILED BY JON KEITH BYER FOR OFFICER SALARY

                                                        COMES NOW Northwest Gold Diggers, LLC (“NWG”), by and through its

                                               counsel of record, hereby files this Joinder in Objection to Claim Number 7 Filed by

                                               Jon Keith Byer (“Byer”).

                                                        Claim number 7 was filed by Jon Keith Byer on May 20, 2019, in the amount

                                               of $240,500.00. The claim is for “officer salary not received pre-petition.”

                                                        On July 16, 2019, a First Amended Objection to Proof of Claim 7 was filed by

                                               Blue Water Mining LLC (“BWM”) and (“BWG”) [DE 129]. NWG hereby joins in

                                               the Objection.


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                                                      Notice of a hearing on objection to claim 7 was filed and the hearing is set for

                                               September 11, 2019, at 11:00 a.m. [DE 130].

                                                       Shawn Pomrenke filed Claim 4 which originally included a claim for officer

                                               salary. Shawn Pomrenke amended Claim 4 on July 17, 2019, and the Amended

                                               Claim 4 does not include a claim for officer salary.

                                                      Christine Rose Pomrenke and Steven Pomrenke filed claims for officer salary

                                               as well, Claim 2 and Claim 3 respectively. They will be filing a withdrawal of Claim
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                                               2 and Claim 3.
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                                                      At the time of filing the claims by Christine Rose Pomrenke, Steven Pomrenke,

                                               and Shawn Pomrenke, it was upon information and belief that there had been board

                                               approval for officer salary. No such board approval was found.

                                                      NWG opposes officer salary for the following reasons:

                                                      • No formal board approval was given for officer salary. The only reference to

                                               officer salary was in a fictional pro-forma projection based on receipt of millions of

                                               investor monies.

                                                      • No officer salary was historically taken pre-petition.

                                                      • There was no funding for officer salary pre-petition and no source to pay

                                               officer salary post-petition.

                                                      • Allowing officer salary claims post-petition when not historically paid would

                                               be unfair to the other creditors of the estate.


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                                                      • Byer took “consulting” fees of $31,298.06 in 2016; $64,500.00 in 2017;

                                               $17,170.00 in 2018; and $15,000.00 in 2019. 1 Byer has been more than reasonably

                                               compensated for any benefit he brought to the Pomrenke Mining, LLC.

                                                      • For all the reasons stated here allowance of insider officer salaries under the

                                               circumstances would be unreasonable and should not be allowed pursuant to 11

                                               U.S.C. 502((b)(4).

                                                      NWG requests that Claim 7 be disallowed in full pursuant to 11 U.S.C.
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                                               §502(b)(4) and Bankruptcy Rule 3007.
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                                                                                     I. Discussion

                                                      11 U.S.C. §502(b) Allowance of claims or interest states:

                                                      (b) Except as provided in subsections (e)(2), (f), (g), (h) and (i) of this section,
                                               if such objection to a claim is made, the court, after notice and a hearing, shall
                                               determine the amount of such claim in lawful currency of the United States of the date
                                               of the filing of the petition, and shall allow such claim in such amount, except to the
                                               extent that---
                                                      (4) if such claim is for services of an insider or attorney of the debtor, such
                                               claim exceeds the reasonable value of such services;

                                                      The Bankruptcy Appellate Panel for the Ninth Circuit in In re Placide, 459

                                               B.R. 64 (9th Cir. BAP 2011) addresses Section 502(b)(4). The court states that

                                               bankruptcy law governs the allowance of claims, citing to Butner v. United States,

                                               440 U.S. 48 – 55 (1979).        Claims may be allowed only to the extent they are


                                               1
                                                 From Pomrenke Mining, LLC Profit and Loss Statements for 2016 – 2019. The
                                               “Consulting” fees are not broken out by person. Other person(s) in the Texas office or other
                                               entities may be included in the consulting fees.

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                                               reasonable as determined under federal law. The court also stated “Section 502(b)(4)

                                               provides that a prepetition claim for services performed by an attorney or insider of

                                               the debtor shall be disallowed to the extent the claim exceeds the reasonable value of

                                               the services provided. Thus, ‘the excess amount of the claim beyond such reasonable

                                               value fixed by the court is simply disallowed and may not, therefore, share in the

                                               distribution of the debtor’s assets.” Id. at 72 citing to 4 Collier on Bankruptcy

                                               §502.03[5][c] (Alan N. Resnick & Henry J. Sommer eds., 16th ed. 2009).
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                                                      The ultimate burden of persuasion remains at all times upon the claimant. Id.
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                                               Under 502(b)(4), the claimant attorney or insider bears the burden of proof on the

                                               questions of reasonableness of compensation for services. Id.

                                                      NWG asks that Claim 7 filed by Byer be disallowed. For all the reasons

                                               outlined above, it would be unreasonable to allow a claim for salary of an insider of

                                               the debtor when no salary was authorized and no salary was historically paid. The

                                               salary claim requested is unreasonable. Allowing the claim for salary would be

                                               disproportionate to the revenue of the company. It would be unfair to the other

                                               creditors of the estate to allow a salary under such circumstances.

                                                                                   II. Conclusion

                                                      For the forgoing reasons, NWG respectfully requests that Claim 7 be

                                               disallowed. NWG reserves the right to supplement this brief with additional facts as

                                               learned in discovery.


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                                                        Notice of this Objection to Claim 7 will be provided in accordance with

                                               Bankruptcy Rule 3007 and LBF 13.

                                                        Dated this 30th day of July, 2019.

                                                                                      LANDYE BENNETT BLUMSTEIN LLP
                                                                                      Attorneys for Northwest Gold Diggers, LLC


                                                                                      By: /s/ Michelle L. Boutin
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                                               CERTIFICATE OF SERVICE

                                               The undersigned certifies that on this 30th day of
                                               July, 2019, a true and correct copy of the foregoing
                                               was served by electronic means through the ECF
                                               system as indicated on the Notice of Electronic
                                               Filing, and by email and U.S. Mail to:

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                                               By:
                                                     /s/ Dana Cupp
                                                      Dana Cupp, Legal Assistant
                                                      Landye Bennett Blumstein LLP



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